                     Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 1 of 92

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


       Southern
 ____________________                 Texas
                      District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Wolverine UK Holdco Limited
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                 PE Coal Holding Limited
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business
                                                  100 New Bridge St.
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  London, England, UK EC4V 6JA
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  N/A
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                      https://www.incora.com/
                                              ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 2 of 92

Debtor
                Wolverine UK Holdco Limited
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___ 4___
                                                    2 3___
                                                         9 ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                        Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 3 of 92

Debtor
                  Wolverine UK Holdco Limited
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an              Yes.              See Rider 1
                                                    Debtor _____________________________________________              Affiliate
                                                                                                         Relationship _________________________
       affiliate of the debtor?                               Southern District of Texas
                                                    District _____________________________________________ When                 5/31/23
                                                                                                                              __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
                       Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 4 of 92




                   Wolverine UK Holdco Limited                                                                Case number (if known)
Debtor
              Name




  43. Debtor’s estimation of                  Check one:
      available funds                         ®  Funds will be available for distribution to unsecured creditors.
                                                                                                                            distrioution to unsecured creditors.
                                              LJ After any administrative expenses are paid, no funds will be available for


                                               LQ       1-49                            C2) 1,000-5,000                                     & 25,001-50,000
  44. Estimated number of                      LI       50-99                           (4 5,001-10,000                                     (I 50,001-100,000
      creditors                                LY       100-199                         C} 10,001-25,000                                    (J More than 100,000
                                               LI       200-999

                                               L) $0-$50,000                            CY   $4,000,001-$10 million                         (J $500,000,001-$1 billion
  15. Estimated assets                         C) $50,001-$100,000                      LJ   $10,000,001-$50 million                           $1,000,000,001-$10 billion
                                                 $100,001-$500,000                      LJ   $50,000,001-$100 million                       () $10,000,000,001-$50 billion
                                               () $500,001-$1 million                   (1   $100,000,001-$500 million                      LJ More than $50 billion


                                               C) $0-$50,000                            © $1,000,001-$10 million                            (J $500,000,001-$4 billion
  46. Estimated liabilities                    ( $50,001-$100,000                       Cd $10,000,001-$50 million                             $1,000,000,001-$10 billion
                                               ©) $100,001-$500,000                     (2 $50,000,001-$100 million                         ©) $10,000,000,001-$50 billion
                                                 $500,001-$1 million                    (J $100,000,001-$500 million                        LJ More than $50 billion



 a             Request      for Relief, Declaration,                and Signatures


                                                                                                       a bankruptcy case can result in fines up to
   WARNING     —     Bankruptcy fraud is a serious crime. Making a false statement in connection with
                                                                     both.  18 U.S.C. §§ 152, 1341,  1519,  and 3571.
                     $500,000 or imprisonment for up to 20 years, or


                                                                                                                                       States Code, specified in this
   17. Declaration and signature of                      The debtor requests relief in accordance with the chapter of title 11, United
       authorized representative of                      petition.
       debtor
                                                         | have been authorized to file this petition on behalf of the debtor.

                                                                                                                                            the information is true and
                                                         | have examined the information in this petition and have a reasonable belief that
                                                         correct.



                                                  | declare under penalty of perjury that the foregoing is true and correct.
                                                                           5/31/23
                                                         Executed on                                  ,

                                                                                                                               Raymond Carney
                                                    x       Lod WA
                                                           vA                   a    CaA        i         "

                                                         signattre of authorized represe}     vag debtor                     Printed name

                                                           _         Authorized Signatory
                                                         Titl   e




                                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
     Official Form 201
                     Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 5 of 92

Debtor          Wolverine UK Holdco Limited
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                               /s/ Charles A. Beckham, Jr.
                                            _____________________________________________            Date
                                                                                                                  5/31/23
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY


                                            Charles A. Beckham, Jr.
                                           _________________________________________________________________________________________________
                                           Printed name
                                             Haynes and Boone, LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                             1221 McKinney St., Ste. 4000
                                           _________________________________________________________________________________________________
                                           Number     Street
                                                                                                           TX            77010
                                             Houston
                                           ____________________________________________________            ____________ ______________________________
                                           City                                                            State        ZIP Code

                                            713-547-2000
                                           ____________________________________
                                                                                                           charles.beckham@haynesboone.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address


                                            02016600                                                       TX
                                           ______________________________________________________ ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
         Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 6 of 92




                          RIDER 1      TO   V O L U N TA RY P E T I T I O N
        On this date, each of the affiliated entities listed below (collectively, the “Debtors”) has
filed or will file a voluntary petition for relief under chapter 11 of title 11 of the United States Code
in the U.S. Bankruptcy Court for the Southern District of Texas. The Debtors expect to file a
motion requesting that the chapter 11 cases of these entities be consolidated for procedural
purposes only and jointly administered pursuant to Rule 1015(b) of the Federal Rules of
Bankruptcy Procedure.


    Wesco Aircraft Holdings, Inc.                        Wesco 1 LLP
    Wolverine Intermediate Holding II                    Wesco 2 LLP
        Corporation                                      Wesco Aircraft SF, LLC
    Wolverine Intermediate Holding                       Wesco Aircraft Canada, LLC
        Corporation                                      Wesco Aircraft Canada Inc.
    Haas Group, LLC                                      Haas Group International, LLC
    Haas Holdings, LLC                                   Haas of Delaware LLC
    Interfast USA Holdings, Inc.                         Haas TCM Industries LLC
    Pioneer Holding Corporation                          NetMRO, LLC
    Pattonair Holding, Inc.                              Haas Corporation of Canada
    Pattonair USA, Inc.                                  Haas Group Canada Inc.
    UNISEAL, Inc.                                        Haas Chemical Management of Mexico,
    Pioneer Finance Corporation                              Inc.
    Wolverine UK Holdco Limited                          Haas TCM de Mexico, S. de R.L. de C.V.
    Pattonair Holdings Limited                           Haas Corporation of China
    Quicksilver Midco Limited                            Haas TCM of Israel Inc.
    Pattonair Group Limited                              Haas International Corporation
    Pattonair Europe Limited                             Haas TCM Group of the UK Limited
    Adams Aviation Supply Company Ltd.                   Wesco Aircraft International Holdings
    Pattonair (Derby) Limited                                Limited
    Pattonair Limited                                    Wesco Aircraft EMEA, Ltd.
    Wesco Aircraft Hardware Corp.                        Haas Group International SCM Limited
    Wesco LLC 1                                          Flintbrook Limited
    Wesco LLC 2                                          Wesco Aircraft Europe Limited
                Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 7 of 92




                       U N I T E D S TAT E S B A N K R U P T C Y C O U RT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


                                                                   Case No. 23-[______ (___)]
       In re
                                                                   Chapter 11
       W O LV E R I N E UK H O L D C O L I M I T E D ,
                                                                   (Joint Administration Requested)
                       Debtor.




                                   LIST OF EQUITY HOLDERS


               1.     Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the
      following table identifies all holders having an equity ownership interest in the above-captioned
      debtor in possession:

      Debtor                     Equity Holder          Last Known Address         Percentage of Equity Held

Wolverine UK Holdco      Wesco Aircraft Holdings,      1475 Phoenixville Pike,                  100%
      Limited                     Inc.                Ste. 201, West Chester, PA
                                                                19380
          Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 8 of 92




                U N I T E D S TAT E S B A N K R U P T C Y C O U RT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


                                                              Case No. 23-[______ (___)]
 In re
                                                              Chapter 11
 W O LV E R I N E UK H O L D C O L I M I T E D ,
                                                              (Joint Administration Requested)
                 Debtor.




                C O R P O R AT E O W N E R S H I P S TAT E M E N T


         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”), attached hereto as Exhibit A is an organizational chart reflecting all of
the ownership interests in Wolverine UK Holdco Limited and its debtor affiliates (each, a “Debtor”
and collectively, the “Debtors”). The Debtors respectfully represent as follows:

         1.    Wolverine UK Holdco Limited is a wholly owned direct subsidiary of affiliated
debtor Wesco Aircraft Holdings, Inc.

         2.    Wolverine Top Holding Corporation is the ultimate parent company of each of the
Debtors, and directly or indirectly owns a 100% equity interest in each of the Debtors.
Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 9 of 92




  E XHIBIT A
  EXHIBIT  A   TO C
               TO   O R P O R AT E O
                  CORPORATE          WNERSHIP S
                                   OWNERSHIP    TAT E M E N T
                                              STATEMENT

                 O R G A N I Z AT I O N A L C
                 ORGANIZATIONAL               H A RT
                                            CHART
                                                                                                                                                                          Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 10 of 92




                                                                                                                                                                                                                                                                               Wolverine Top Holding Corporation
                                                                                                                                                                                                                                                                                             (US)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Filing Status:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Non-Debtor
                                                                                                                                                                                                                                                                                 Wolverine Intermediate Holding
                                                                                                                                                                                                                                                                                          Corporation
                                                                                                                                                                                                                                                                                              (US)



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Debtor
Corporate Structure                                                                                                                                                                                                                                                             Wolverine Intermediate Holding II
                                                                                                                                                                                                                                                                                           Corporation
                                                                                                                                                                                                                                                                                              (US)                                                                                                                                                                                                                                                                                                                                                                                 All ownership percentages
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   are 100% unless otherwise
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   noted.

                                                                                                                                                                                                                                                                                  Wesco Aircraft Holdings, Inc.
                                                                                                                                                                                                                                                                                          (Delaware)




    Haas Group, LLC                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Pioneer Finance Corporation                                                                    Pioneer Holding Corporation
                                       Wesco Aircraft France SAS                    Wesco Aircraft Israel Ltd.                 Wesco Aircraft Hardware Corp.                              Interfast USA Holdings Inc.                                                                                                                                                                                                                                                                                                                             Wolverine UK Holdco Limited
      (Delaware)                                                                                                                                                                                   (Delaware)                                                                                                                                                                                                                                                                                                              (US)                                                                                           (US)
                                               (France)                                     (Israel)                                    (California)                                                                                                                                                                                                                                                                                                                                                                                                         (UK)


                                                                                                                                                                                                                                                                                                                                                                         99%                                                              99%


                                                                                                                                                                           99%
   Haas Holdings, LLC                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Pattonair Holding, Inc.
       (Delaware)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (US)




                                                                                                                                                      1%                                                                                                                                                                                                1%                                                      1%                                                                                                                                                                                                  Pattonair USA, Inc.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (US)


      Wesco LLC 2                                       Wesco LLC 1                                                                                                                                                                                                                                                                                                Wesco Aircraft                              Wesco Aircraft Mexico SA de CV
                                      99%                                                                                                                  Wesco Aircraft LLC                            Haas Group International, LLC             Wesco Aircraft NEA Limited                      Wesco Aircraft (Thailand) Limited                                                                                      (Mexico)
       (Delaware)                                        (Delaware)                                                                                                                                                                                                                                                                                            Hardware India Pvt. Ltd.
                                                                                                                                                                (Oman)                                          (Pennsylvania)                           (Hong Kong)                                          (Thailand)
                                                                                                                                                                                                                                                                                                                                      5                               (India)

                                                                                                                          LP - 99%                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    UNISEAL, Inc.
                                              1%                                    GP - 1%                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               (US)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Pattonair Holdings Limited
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (UK)
                                                                                                                                                                                                                                               Wesco Aircraft Hardware Corporation
                                                                                                                                                                                                                                                             (China)
                                                       Wesco 1 LLP                                Wesco Aircraft Canada LP
                                                                                                                                                                                                                                                                                  1
            1%                                            (UK)                                           (Canada)



                                                           99%




                                                                                                                                                                                                                                             Haas TCM China Holdings Limited                                                                                                                                                                                                                                                                        Quicksilver Midco Limited
                                                                                                                                                                                                             Haas TCM Industries LLC                                                                                                                                    Wesco Aircraft SEA Pte.
                                                       Wesco 2 LLP                               Wesco Aircraft Canada, LLC                              Haas of Delaware LLC                                                                        (Hong Kong)                                                                                                                Ltd                                                                                                                                                                           (UK)
                                                                                                         (Delware)                                            (Delaware)                                           (Delaware)
                                                          (UK)                                                                                                                                                                                                                                                                                                              (Singapore)



                                                                                                                                                                           99%                             1%                                               49%


                                                   Wesco Aircraft SF, LLC                         Wesco Aircraft Canada Inc.
                                                                                                                                                                                         Haas do Brasil                                                                                                                                      Haas TCM Malaysia Sdn. Bhd.                               Incora Philippines, Inc.
                                                        (Delaware)                                       (Canada)
                                                                                                                                                                                Total Gerenciamento de Productos                                                                                                                                     (Malaysia)                                             (Philippines)                                                                                                                            Pattonair Group Limited
                                                                                                                                                                                                                                                    AVIC Haas Chemical
                                                                                                                                                                                            Quimicos                                                                                                                                                                                                                                                                                                                                                           (UK)
                                                                                                                                                                                                                                                     (Tianjin) Co. Ltd.
                                                                                                                                                                                             (Brazil)
                                                                                                                                                                                                                                                          (China)
                                                                                                                                                                                                                                                                             4

                                                     WA SF Cayman, Ltd.
                                                      (Cayman Islands)
                                                                                                                                                                                                                                                                                                                                                                                                      Haas Group Canada Inc.                                 NetMRO, LLC
                                                                                                                                                                                                                                                                                                                                                                                                            (Canada)                                            (Florida)



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Pattonair Europe Limited
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (UK)

                                                                                                                                                                                                                                                                                                                                                                                                    Haas Corporation of Canada                        Haas Group International SCM
                                                                                                                                                                                                                                                                                                                                                                                                                                                             Ireland Limited
                                                                                                                                                                                                                                                                                                                                                                                                          (Pennsylvania)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 (Ireland)


Haas Chemical Management of Mexico,                                                                                                                                                        Haas TCM Group of the UK Limited
                                              Haas Corporation of China
               Inc                                                                             Haas TCM of Israel Inc.                Haas International Corporation                                   (UK)
          (Pennsylvania)                           (Pennsylvania)
                                                                                                     (Delaware)                               (Pennsylvania)
                                                                                                                                                                                                                                                                                                                                                                                                                                                      Haas Group Australia Pty. Ltd.
                                                                                                                                                                                                                                                                                                                                                                                                                                                               (Australia)
                 98%                                       45%

                                                                                                                                                                                          Wesco Aircraft International Holdings
Haas TCM de Mexico de S de RL de CV                                                                                                                                                                     Limited
                                            Haas FineChem (Shanghai) Co. Ltd.                                                                                                                             (UK)
             (Mexico)
                                                        (China)
                                  2                                             3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Incora Asia Pte. Limited
                                                                                                                                                                                                                                                                                                                                                                   Haas TCM                                                       Pattonair SAS                                        Pattonair Srl                    Pioneer Holding LLC                                        Pattonair (Derby) Limited                                                                               Ulogistics Canada Inc.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Adams Aviation Supply Company Ltd.                                            Pattonair Limited    (fka. Pattonair Asia Pte. Ltd.)
                                                                                                                                                                                                                                                                                                                                                             of Luxembourg 3, SARL                                                   (France)                                             (Italy)                                                                                             (UK)                                                                                               (Canada)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                (US)                                                                                              (UK)                     (Singapore)
                                                                                                                                                                                                                                                                                                                                                                  (Luxembourg)                                                                                                                                                                               (UK)

                                                                                                                                                                                                Haas Group International
           Incora Japan G.K.                    Incora Malaysia Sdn. Bhd.                       Incora Korea Co. Ltd.                          Wesco Aircraft EMEA Ltd.                                                                  Wesco Aircraft Europe Limited                    Flintbrook Limited
                                                                                                                                                                                                     SCM Limited
                (Japan)                                (Malaysia)                                      (Korea)                                           (UK)                                            (UK)                                        (UK)                                        (UK)

                                                                                                                                                                                                                                                                                                                                                                                                                            Pattonair (Berlin) GmbH                             Pattonair Poland Sp. z. o. o.                                                                                                                                         Pattonair Japan KK                Pattonair do Brasil Servicos e
                                                                                                                                                                                                                                                                                                                                                                                                                                   (Germany)                                              (Poland)                                                                                                                                                          (Japan)                            Logistica Ltda.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   (Brazil)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         6
                                                                                                                                                                                                                                                                                                                                                                   Haas TCM
                                                                                                                                                                                                                                                                                                                                                             of Luxembourg 4, SARL
                                                                                                                                                                                                                                                                                                                                    10%                                                              1%
                                                                                                                                                                                                                                                                                                                                                                  (Luxembourg)


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Pattonair Xi'An Trading Limited
                                                                                                                                                                                                                                                                                                                                                     90%                             99%                                                                                                                                                                                                                                                                     (China)



                                                                                                                                                                                                                                                                                                                  Haas Chemical Materials Distribution and                           Haas Group International SP.z.o.o.
                                                                                                                                                                                                                                                                                                                              Trading LLC
                                                                                                                                                                                                                                                                                                                                                                                                 (Poland)
                                                                                                                                                                                                                                                                                                                                (Turkey)




                                                                                                                                                                                                                                                                                                           Haas SCMS.r.l.                             Haas Group International France                     Wesco Aircraft Germany GmbH
                                                                                                                                                                                                                                                                                                               (Italy)                                          (France)                                           (Germany)


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Notes:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               1    Company aka Wesco Aircraft Trading (Shanghai) Co. Ltd.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2    2% owned by Haas Group International, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               3    45% owned by FineChem International, Inc. and 10% owned by 2 Chinese entities
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               4    51% owned by Avic International Logistics (Tianjin) Co. Ltd.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               5    0.01% aggregate ownership by certain members of management
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               6    Pattonair Group Limited owns 1% as nominee shareholder
                                    Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 11 of 92



     Fill in this information to identify the case:
     Debtor name: Wesco Aircraft Holdings, Inc.
     United States Bankruptcy Court for the: Southern District of Texas
     Case number (If known): ___________                                                                                                  Check if this is an
                                                                                                                                           amended filing

     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders

     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include
     claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting
     from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

                                                                                                                                             Amount of unsecured claim
                                                                                                                                             If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                             amount. If claim is partially secured, fill in total claim
                                                                                                                             Indicate if     amount and deduction for value of collateral or setoff to
                                                                                                                              claim is       calculate unsecured claim.
    Name of creditor and complete mailing address,          Name, telephone number, and email
                                                                                                      Nature of the claim   contingent,
                  including zip code                           address of creditor contact
                                                                                                                          unliquidated, or
                                                                                                                              disputed     Total claim, if     Deduction for      Unsecured claim
                                                                                                                                           partially           value of
                                                                                                                                           secured             collateral or
                                                                                                                                                               setoff
  BOKF, NA                                               Attn: George Kubin
  1600 BROADWAY                                          Title: Senior Vice President
1                                                                                                    9.0% Notes due 2026                                                           $         337,276,462.00
  3RD FLOOR                                              Phone: 303-864-7206
  DENVER, CO 80202 UNITED STATES                         Email: gkubin@bokf.com
  BOKF, NA                                               Attn: George Kubin
  1600 BROADWAY                                          Title: Senior Vice President
2                                                                                                    8.5% Notes due 2024                                                           $         176,772,000.00
  3RD FLOOR                                              Phone: 303-864-7206
  DENVER, CO 80202 UNITED STATES                         Email: gkubin@bokf.com
  BOKF, NA                                               Attn: George Kubin
  1600 BROADWAY                                          Title: Senior Vice President                 13.125% Notes due
3                                                                                                                                                                                  $         104,125,000.00
  3RD FLOOR                                              Phone: 303-864-7206                                2027
  DENVER, CO 80202 UNITED STATES                         Email: gkubin@bokf.com
                                                         Attn: Vince Morales
     PPG INDUSTRIES
                                                         Title: Chief Financial Officer
4 1 PPG PL                                                                                               Trade Payable                                                             $           11,120,694.74
                                                         Phone: 412-434-2120
     PITTSBURGH, PA 15272 UNITED STATES
                                                         Email: vmorales@ppg.com
                                                         Attn: Joshua Thompson
     GULFSTREAM AEROSPACE
                                                         Title: Chief Financial Officer
5 500 GULSTREAM RD                                                                                    Customer Programs       Unliquidated                                         $            8,715,875.26
                                                         Phone: 727-789-2629
     SAVANNAH, GA 31408 UNITED STATES
                                                         Email: josh.thompson@gulfstream.com
     HOWMET AEROSPACE                                    Attn: Michael Chantray
     201 ISABELLA ST                                     Title: Chief Commercial Officer
6                                                                                                        Trade Payable                                                             $            8,331,997.73
     SUITE 200                                           Phone: 410-708-8316
     PITTSBURGH, PA 15212 UNITED STATES                  Email: michael.chanatry@arconic.com
                                                         Attn: Scott Wood
     LISI AEROSPACE
                                                         Title: Chief Operating Officer
7 2600 SKYPARK DR.                                                                                       Trade Payable                                                             $            7,572,415.45
                                                         Phone: 626-222-1575
     TORRANCE, CA 90509 UNITED STATES
                                                         Email: scott.wood@lisi-aerospace.com
     PCC AEROSTRUCTURES                                  Attn: Harold Finch
     6525 240TH ST. SE                                   Title: Vice President of Quality
8                                                                                                        Trade Payable                                                             $            6,736,281.10
     BLDG A                                              Phone: 316-371-3637
     WOODINVILLE, WA 98072 UNITED STATES                 Email: hffinch@pccaero.com
                                                         Attn: Lee Pavetti
     TRANSDIGM GROUP
                                                         Title: Vice President of Finance
9 301 EAST 9TH ST. SUITE 3000                                                                            Trade Payable                                                             $            5,753,553.28
                                                         Phone: 440-853-8247
     CLEVELAND, OH 44114 UNITED STATES
                                                         Email: lpavetti@transdigm.com
     NASMYTH BULWELL                                     Attn: Emma West
10 WHARF RD IND EST                                      Title: Financial Controller                     Trade Payable                                                             $            5,621,610.39
   PINXTON, NG16 6LE UNITED KINGDOM                      Email: ewest@nasmythbulwell.com
   MCBRAIDA PLC                                          Attn: Simon Grynyer
11 RIDGEYATE ENG WORKS BATH ROAD                         Title: Global Strategy Manager                  Trade Payable                                                             $            5,489,537.05
   BRISTOL, BS30 5JW UNITED KINGDOM                      Email: simon.grynyer@mcbraida.com
                                                         Attn: Joseph DeBiase
     HENKEL CORPORATION                                  Title: Senior Vice President and General
12 ONE HENKEL WAY                                        Manager                                         Trade Payable                                                             $            5,149,049.76
     ROCKY HILL, CT 6067 UNITED STATES                   Phone: 843-881-9664
                                                         Email: joseph.debiase@us.henkel.com




Official Form 204                                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                       Page 1
                               Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 12 of 92
Debtor Wesco Aircraft Holdings, Inc.                                                                                            Case number (if known)_____________________________________




                                                                                                                                       Amount of unsecured claim
                                                                                                                                       If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                       amount. If claim is partially secured, fill in total claim
                                                                                                                        Indicate if    amount and deduction for value of collateral or setoff to
                                                                                                                         claim is      calculate unsecured claim.
  Name of creditor and complete mailing address,      Name, telephone number, and email
                                                                                                 Nature of the claim   contingent,
                including zip code                       address of creditor contact
                                                                                                                     unliquidated, or
                                                                                                                         disputed     Total claim, if    Deduction for      Unsecured claim
                                                                                                                                      partially          value of
                                                                                                                                      secured            collateral or
                                                                                                                                                         setoff
                                                   Attn: Nick Fedele
     CAAP CO
                                                   Title: Director, Production and Engineering
13 152 PEPES FARM RD                                                                               Trade Payable                                                             $            4,200,127.00
                                                   Phone: 203-877-0375
     MILFORD, CT 6460 UNITED STATES
                                                   Email: nick@caapco.com
     NICHOLSONS SEALING TECHNOLOGIES LTD           Attn: Paul Wilson
     AMOS DRIVE                                    Title: Operations Director
14                                                                                                 Trade Payable                                                             $            3,363,717.70
     ANNFIELD PLAIN                                Phone: +44 1274 734238
     CO. DURHAM, DH9 7YE UNITED KINGDOM            Email: paul.wilson@nicholsons.co.uk
                                                   Attn: Kevin Rhodes
   3M                                              Title: Executive Vice President & Chief
15 2501 HUDSON RD                                  Legal Affairs Officer                           Trade Payable                                                             $            3,080,214.60
   MAPLEWOOD, MN 55144 UNITED STATES               Phone: 651-736-4868
                                                   Email: krhodes@3m.com
   M J SECTIONS LIMITED
   130 STOURBRIDGE RD                              Attn: Beth Barrie
16 BELLE VALE WARD                                 Title: Purchasing Officer                       Trade Payable                                                             $            3,045,639.66
   WEST MIDLANDS, B63 3UN UNITED                   Email: beth.barrie@mjsections.co.uk
   KINGDOM
                                                   Attn: Michael Arthur
     BOEING
                                                   Title: President, Boeing International
17 929 LONG BRIDGE DR                                                                              Trade Payable                                                             $            2,963,063.61
                                                   Phone: 205-914-0093
     ARLINGTON, VA 22202 UNITED STATES
                                                   Email: michael.arthur@boeing.com
     PARKER HANNIFIN CORP                          Attn: Andrew Ross
18 6035 PARKLAND BLVD                              Title: Chief Operating Officer                  Trade Payable                                                             $            2,778,981.04
     CLEVELAND, OH 44124 UNITED STATES             Email: andrew.ross@parker.com

     IONIX SYSTEMS LTD                             Attn: Gemma Barnett
     PROSPECT HOUSE, TAYLOR BUSINESS PAR           Title: Group Financial Controller
19                                                                                                 Trade Payable                                                             $            2,690,367.21
     RISLEY                                        Phone: +372-452-1780
     WARRINGTON, WA3 6HP UNITED KINGDOM            Email: gemma.barnett@ionix-systems.com

   TRELLEBORG GROUP                                Attn: Fiona Guo
   JOHAN KOCKSGATAN 10                             Title: Financial Controller
20                                                                                                 Trade Payable                                                             $            2,632,952.57
   231                                             Phone: 714-905-5271
   TRELLEBORG, SWEDEN                              Email: fionaguo@trelleborg.com
   UST GLOBAL, INC.                                Attn: Krishna Prasad
   20 ENTERPRISE                                   Title: Chief Customer Officer
21                                                                                                 Trade Payable                                                             $            2,593,587.78
   4TH FLOOR                                       Phone: 949-351-4752
   ALISO VIEJO, CA 92656 UNITED STATES             Email: krishna.prasad@ust-global.com
                                                   Attn: Roger Lee
     ELLSWORTH ADHESIVES
                                                   Title: Global President
22 W129 N10825 WASHINGTON DRIVE                                                                    Trade Payable                                                             $            2,459,582.97
                                                   Phone: 262-366-3775
     GERMANTOWN, WI 53022 UNITED STATES
                                                   Email: rlee@ellsworth.com
     ITP EXTERNALS S.L.U
                                                   Attn: Luis Alvarez Rubio
     PARQUE TECNOLOGICO DE BIZKAIA
23                                                 Title: Chief Operating Officer                  Trade Payable                                                             $            2,362,718.52
     SEDIF.902
                                                   Email: luis.rubio@itpaero.com
     DERIO, 48160 SPAIN
     QUAKER HOUGHTON                               Attn: Michael Barry
     ONE QUAKER PARK                               Title: Chief Executive Officer
24                                                                                                 Trade Payable                                                             $            2,348,015.49
     901 E. HECTOR STREET                          Phone: 610-832-4000
     CONSHOHOCKEN, PA 19238 UNITED STATES          Email: michael.barry@quakerhoughton.com
                                                   Attn: Neil O'Hara
   HUTCHINSON AEROSPACE                            Title: Senior Vice President Sales and
25 82 SOUTH ST                                     Marketing                                       Trade Payable                                                             $            1,936,014.79
   HOPKINTON, MA 01748 UNITED STATES               Phone: 508-417-7000
                                                   Email: oharan@hutchinsonai.com
   AVIC INTERNATIONAL HOLDING
                                                   Attn: Chen Zhao
   CORPORATION
                                                   Title: HR Director
26 18 BEICHEN EAST ROAD                                                                            Trade Payable                                                             $            1,886,823.39
                                                   Phone: 213-550-8774
   CHAOYANG DISTRICT
                                                   Email: chenz@avic-intl.cn
   BEIJING, 100101 CHINA




Official Form 204                                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                       Page 2
                                            Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 13 of 92
Debtor Wesco Aircraft Holdings, Inc.                                                                                                                                 Case number (if known)_____________________________________




                                                                                                                                                                              Amount of unsecured claim
                                                                                                                                                                              If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                                              amount. If claim is partially secured, fill in total claim
                                                                                                                                                    Indicate if               amount and deduction for value of collateral or setoff to
                                                                                                                                                     claim is                 calculate unsecured claim.
      Name of creditor and complete mailing address,                     Name, telephone number, and email
                                                                                                                             Nature of the claim   contingent,
                    including zip code                                      address of creditor contact
                                                                                                                                                 unliquidated, or
                                                                                                                                                     disputed     Total claim, if                  Deduction for   Unsecured claim
                                                                                                                                                                  partially                        value of
                                                                                                                                                                  secured                          collateral or
                                                                                                                                                                                                   setoff
                                                                     Attn: Jay Worley
       AIRGAS
                                                                     Title: Chief Operating Officer
27 259 N RADNOR CHESTER RD #100                                                                                                  Trade Payable                                                                      $            1,804,638.82
                                                                     Phone: 610-254-0422
       RADNOR, PA 19087 UNITED STATES
                                                                     Email: jworley@airgas.com
                                                                     Attn: Keith Brewer
       FUCHS LUBRICANTS
                                                                     Title: Chief Executive Officer
28 17050 LATHROP AVENUE                                                                                                          Trade Payable                                                                      $            1,794,207.21
                                                                     Phone: 214-668-6757
       HARVEY, IL 60426 UNITED STATES
                                                                     Email: kbrewer@fuchs.com
       A POOLE & SON LIMITED                                         Attn: Emma Lupton
29 HEWELL RD                                                         Title: Manager                                              Trade Payable                                                                      $            1,760,377.14
   REDDITCH, B97 6AY UNITED KINGDOM                                  Phone: +44 1527 63676
                          (1)
   NOTEHOLDER PLAINTIFFS                                             Attn: Zachary Rosenbaum
                                                                                                                                                            Contingent,
   C/O KOBRE  AND KIM LLP                                            Title: Counsel
30                                                                                                                                  Litigation             Unliquidated,                                                UNDETERMINED
   800 THIRD AVENUE                                                  Phone: 212-488-1200
                                                                                                                                                             Disputed
   NEW YORK, NY 10022 UNITED STATES                                  Email: zachary.rosenbaum@kobrekim.com

(1)
      "Noteholder Plaintiffs," as identified in Exhibit 1, refer to those Parties who have asserted claims in a pending action (Supreme Court of the State of New York, County of New York October 28, 2022)




Official Form 204                                                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                           Page 3
                                    Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 14 of 92
Debtor   Wesco Aircraft Holdings,   Inc.                                                                                     Case number (if known),


                                                                                                  Exhibit 1
                                                                                            Noteholder Plaintiffs
                                       BlackRock Bank Loan Fund, by its manager BlackRock Asset Management                              Ireland Limited
                                       BlackRock Dynamic High Income Portfolio of BlackRock Funds II
                                       BlackRock Floating Rate Income Portfolio of BlackRock Funds V
                                       BlackRock Floating Rate Income Strategies Fund, Inc.
                                       BlackRock Floating Rate Income Trust
                                       BlackRock Institutional Trust Company,                   N .A., acting in its capacity as Trustee of the U.S.
                                       High Yield Bond Index Non-Lendable Fund B
                                       BlackRock Managed Income Fund of BlackRock Funds II
                                       DELA Depositary & Asset Management B.V.
                                       iShares II Public Limited Company, on behalf of its sub-fund iShares $ High Yield Corp Bond
                                       UCITS ETF
                                       iShares IV Public Limited Company, on behalf of its sub-fund iShares $ Short Duration High
                                       Yield Corp Bond UCITS ETF
                                       iShares Public Limited Company, on behalf of its sub-fund iShares Global High Yield Corp
                                       Bond UCITS ETF
                                       iShares   Trust,   on   behalf   of   its   series    iShares   0-5 Year High Yield Corporate Bond ETF
                                       iShares   Trust,   on   behalf   of   its   series    iShares   Broad USD High Yield Corporate Bond ETF
                                       iShares   Trust,   on   behalf   of   its   series    iShares   Core 1-5 Year USD Bond ETF
                                       iShares   Trust,   on   behalf   of   its   series    iShares   Core Total USD Bond Market ETF
                                       iShares   Trust,   on   behalf   of   its   series    iShares   iBonds 2024 Term High Yield and Income ETF
                                       iShares   Trust,   on   behalf   of   its   series    iShares   iBonds 2026 Term High Yield and Income ETF
                                       iShares   Trust,   on   behalf   of   its   series    iShares   iBoxx $ High Yield Corporate Bond ETF
                                       iShares U.S. High Yield Bond Index ETF (CAD-Hedged), by its trustee, manager and portfolio
                                       adviser BlackRock Asset Management Canada Limited
                                       iShares U.S. High Yield Fixed Income Index ETF (CAD-Hedged), by its trustee, manager and
                                       portfolio adviser BlackRock Asset Management Canada Limited
                                       iShares VI Public Limited Company, on behalf of its sub-fund iShares Global High Yield Corp
                                       Bond CHF Hedged UCITS ETF (Dist)
                                       iShares VI Public Limited Company, on behalf of its sub-fund iShares Global High Yield Corp
                                       Bond GBP Hedged UCITS ETF (Dist)
                                       iShares, Inc., on behalf of its series iShares US & Intl High Yield Corp Bond ETF
                                       JNL Series Trust on behalf of its series JNL/JPMorgan Global Allocation Fund
                                       JPMorgan Chase Bank, N.A., as Trustee of the Commingled                        Pension Trust Fund (Core Plus
                                       Bond) of JPMorgan Chase Bank, N.A.
                                       JPMorgan Chase Bank, N.A., as Trustee of the Commingled                        Pension Trust Fund (Corporate
                                       High Yield) of JPMorgan Chase Bank, N.A.
                                       JPMorgan Chase Bank, N.A., as Trustee of the Commingled Pension Trust Fund (High Yield)
                                       of JPMorgan Chase Bank, N.A.
                                       JPMorgan Chase Bank, N.A., as                  Trustee of the Commingled       Pension Trust Fund (Income) of
                                       JPMorgan Chase Bank, N.A.
                                       JPMorgan Funds, on behalf of its                sub-fund Global Bond Opportunities Fund
                                       JPMorgan Funds, on behalf of its                sub-fund Global Bond Opportunities Sustainable Fund
                                       JPMorgan Funds, on behalf of its                sub-fund Income Fund
                                       JPMorgan     Funds, on      behalf of its      sub-fund      Multi-Manager Alternatives Fund
                                       JPMorgan     Funds, on      behalf of its      sub-fund      US High Yield Plus Bond Fund
                                       JPMorgan     Investment      Funds, on         behalf of    its sub-fund Global High Yield Bond Fund
                                       JPMorgan     Investment      Funds, on         behalf of    its sub-fund Income Opportunity Fund
                                       JPMorgan     Investment Funds, on behalf of its sub-fund Global Income Fund
                                       JPMorgan     Investment Funds, on behalf of its sub-fund Global Income Conservative Fund
                                       Kapitalforeningen PenSam Invest - PSI 84 US High Yield II
                                       Lumyna Investments Ltd. on behalf of its sub-fund PSAM Global Event UCITS Fund
                                       Lumyna Specialist Funds (formerly called Viaduct invest FCP-SIF), on behalf of its sub-fund
                                       Event Alternative Fund
                                       PSAM WorldArb Master Fund Ltd.
                                       Rebound Portfolio Ltd.
                                       SSD Investment Ltd.
                                       The New Zealand Guardian Trust Company Limited, as Trustee for AMP Wholesale High
                                       Yield Bond Fund
                                       UBS Fund Management (Switzerland) AG

                                                                                                                                                          Page 4
                       Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 15 of 92




 Fill in this information to identify the case and this filing:


 Debtor Name         Wolverine UK Holdco Limited

 United States Bankruptcy Court for the:     Southern                  District of _ Texas
                                                                                  (State)
 Case number (/f known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     42145
                                                                                  as a corporation or partnership, must sign and submit
An individual who is authorized to act on behalf of a non-individual debtor, such
                                                                                                      that is not included in the document,
this form for the schedules of assets and liabilities, any other document that requires a declaration
                                                                                      or relationship to the debtor, the identity of the
and any amendments of those documents. This form must state the individual’s position
document, and the date. Bankruptcy Rutes 1008 and 9011.
                                                                                                   or obtaining money or property by fraud in
WARNING   — Bankruptcy fraud is a serious crime. Making a false statement, concealing property,
                                                                     or imprisonmen t for up to 20  years, or both. 18 U.S.C. §§ 152, 1341,
connection with a bankruptcy case can result in fines up to $500,000
1519, and 3571.



po              Declaration and signature



                                                                                                                          of the partnership; or
          | am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent
          another individual serving as a representative of the debtor in this case.
                                                                                                 belief that the information is true and correct:
          | have examined the information in the documents checked below and | have a reasonable


                    Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
         OOooooso




                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

                    Amended Schedule

                                                                                                                  Are Not Insiders (Official Form 204)
                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
          O




                                                                     Corporate       Ownership       Statement   and    List of Equity   Holders
            |       Other document that requires a declaration




           | declare under penalty of perjury that the foregoing is true anqesrrect.
                                                                              “             J       (?
            Executed on        5/31/23                           x       Leap               F)+(            La

                             MM/OD/YYYY                               Signatyfa of individual signing ott   of debtor



                                                                       Raymond Carney
                                                                      Printed name

                                                                       Authorized Signatory
                                                                      Position or relationship to debtor



 Official Form 202                               Declaration Under Penalty of Perjury for Non-Individual Debtors
        Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 16 of 92




       OMNIBUS UNANIMOUS WRITTEN CONSENT AND RESOLUTIONS
   OF THE BOARDS OF DIRECTORS, BOARDS OF MANAGERS AND MEMBERS

                                           May 31, 2023

        The undersigned, being all of the members of the boards of directors, all of the members
of the boards of managers or all of the members (each a “Governing Body”), as applicable, of each
of the entities listed on Annex A (each a “Company”, and collectively, the “Companies”), acting
pursuant to the applicable organizational documents of the Companies, hereby adopt the following
resolutions (these “Resolutions”).

         WHEREAS, the Governing Body of each Company, along with their legal and financial
advisors, has considered the liquidity, financial and operational condition, including capital
resources, and sources and uses of cash, of such Company and its subsidiaries and affiliates and
its current lending arrangements in respect to meeting such Company’s short-term liquidity needs;

        WHEREAS, the Governing Body of each Company has reviewed the historical
performance and results of such Company, the market in which such Company operates, its
current, short-term and long-term future liquidity needs, its business prospects and its current and
long-term liabilities;

       WHEREAS, the Governing Body of each Company has considered and evaluated other
lending arrangements and sources of liquidity in meeting such Company’s short-term liquidity
needs;

        WHEREAS, the Governing Body of each Company has reviewed the materials presented
by such Company’s financial, operative, legal and other advisors and has engaged in numerous
and extensive discussions (including, without limitation, with its management and such advisors)
regarding, and have had the opportunity to fully consider, such Company’s financial condition,
including its capital resources and uses of cash, liabilities and liquidity position, the strategic
alternatives available to it, the impact of the foregoing on such Company’s business and operations
and the advisability of entering into restructuring arrangements;

       WHEREAS, each Governing Body has been presented with a draft of the Senior Secured
Superpriority Debtor-In-Possession Note Purchase Agreement (together with all exhibits,
schedules, and annexes thereto, as amended, amended and restated, supplemented or otherwise
modified from time to time, the “DIP Note Purchase Agreement”), to be entered into among Wesco
Aircraft Holdings, Inc. (the “Issuer”), Wolverine Intermediate Holding Corporation, the other
guarantors party thereto, the note purchasers party thereto (the “DIP Note Purchasers”) and
Wilmington Savings Fund, FSB, as administrative agent and collateral agent (the “DIP Notes
Agent”);

        WHEREAS, the obligation of the DIP Note Purchasers to make certain extensions of
credit is subject to the Issuer and each other facility guarantor having satisfied certain conditions
described in the DIP Note Purchase Agreement;
        Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 17 of 92




       WHEREAS, the management and advisors of each Governing Body have negotiated the
terms of the DIP Note Purchase Agreement, the key terms of which have been discussed with each
Governing Body;

        WHEREAS, each Governing Body has determined that the transactions contemplated by
the DIP Note Purchase Agreement are in the best interest of each Company and that it is in the
best interest of such Company to (i) execute and deliver the DIP Note Purchase Agreement and
any other document or agreement to which it is contemplated to become a party pursuant to the
DIP Note Purchase Agreement and the DIP Credit Documents (as defined below) and (ii) authorize
the Authorized Persons (as defined below) of each such Company to take any and all actions as
any such Authorized Person may deem appropriate to effect the transactions contemplated by the
DIP Note Purchaser Agreement;

        WHEREAS, each Company has considered the importance of retaining outside legal,
operative and financial advisors and any other professionals required to assist during the
restructuring process; and

        WHEREAS, the Governing Body of each Company has determined that taking the actions
set forth below are advisable and in the best interests of such Company to preserve and protect its
ordinary course of business and therefore desires to approve the following resolutions:

                                 Approval of Chapter 11 Case

        BE IT RESOLVED that the Governing Body of each Company has determined that it is
desirable and in the best interests of such Company and its respective creditors and other parties-
in-interest that such Company file or cause to be filed a voluntary petition for relief under the
provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
commencing the Chapter 11 Case (as defined below) in the United States Bankruptcy Court for
the Southern District of Texas;

        BE IT FURTHER RESOLVED that Raymond Carney on behalf of each Company and
each manager, member, officer or director of each Company on behalf of such person’s Company
(together with Raymond Carney, the “Authorized Persons”), in each case, acting singly or jointly,
be, and each of them hereby is, authorized, empowered and directed to execute and file, or cause
to be filed, with the bankruptcy court, for such Authorized Person’s Company, all petitions,
schedules, lists, motions, applications, pleadings and any other necessary papers or documents,
including any amendments thereto, and to take any and all action and perform any and all further
deeds that they deem necessary or proper to obtain chapter 11 bankruptcy relief or in connection
with the chapter 11 case of such Company (the “Chapter 11 Case”), with a view to the successful
prosecution of such Chapter 11 Case, including the negotiation of such additional agreements,
modifications, supplements, reports, documents, instruments, applications, notes, or certificates
that may be required and/or the payment of all fees, consent payments, taxes, and other expenses
as any such Authorized Person, in their sole discretion, may approve or deem necessary,
appropriate, or desirable in order to carry out the intent and accomplish the purposes of the
resolutions herein and the transactions contemplated thereby;
        Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 18 of 92




                                 Debtor-In-Possession Financing

        BE IT FURTHER RESOLVED that in order to use and obtain the benefits of (a) the DIP
Credit Documents and (b) the use of cash collateral, as that term is defined in section 363(a) of the
Bankruptcy Code and in accordance with section 363 of the Bankruptcy Code, each Company will
grant certain liens and claims, and provide adequate protection to certain secured parties and to the
DIP Note Purchasers to secure the obligations of the Companies under the DIP Note Purchase
Agreement (collectively, the “DIP Obligations”) as documented in a proposed order in interim and
final form (together, the “DIP Orders”) and submitted for approval to the bankruptcy court;

        BE IT FURTHER RESOLVED that each Company, as a debtor and a debtor in
possession under the Bankruptcy Code be, and is, authorized to incur the adequate protection
obligations, and to undertake any and all related transactions on substantially the same terms as
contemplated under the DIP Credit Documents, including granting liens on its assets to secure
such obligations;

         BE IT FURTHER RESOLVED that the form, terms and provisions of the DIP Note
Purchase Agreement, the DIP Orders and the form, terms and provisions of each of the instruments
and documents listed below to which each Company is or will be a party (collectively with the
DIP Note Purchase Agreement and the DIP Orders, the “DIP Credit Documents”), be, and hereby
are, in all respects approved; and further resolved, that each Company’s performance of its DIP
Obligations under the DIP Note Purchase Agreement and the other DIP Credit Documents,
including the borrowings thereunder, the guaranteeing of the obligations of the other Companies
and the grant of a security interest in the assets of such Company, if applicable, be, and hereby are,
in all respects, approved; and further resolved, that each of the Authorized Persons, acting alone
or with one or more other Authorized Persons be, and hereby is, authorized and empowered to
execute, negotiate and deliver (including by facsimile, electronic or comparable method) the DIP
Note Purchase Agreement, the DIP Orders, each of the other DIP Credit Documents and each of
the instruments and documents contemplated thereby, in the name and on behalf of such Company,
on behalf of itself or its subsidiaries, as applicable, under its corporate seal or otherwise, with such
changes therein as shall be approved by the Authorized Person executing the same, with such
execution by said Authorized Person to constitute conclusive evidence of his or her approval of
the terms thereof, including any departures therein from the form presented to the Governing Body
of each Company:

       (a)     the DIP Note Purchase Agreement;

       (b)     the Security Agreement (as defined in the DIP Note Purchase Agreement); and

       (c)     such other documents, instruments, certificates, petitions, motions and other papers
               as may be reasonably requested by the DIP Notes Agent, required by the DIP
               Orders or contemplated by the DIP Note Purchase Agreement or any other DIP
               Credit Document;

         BE IT FURTHER RESOLVED that each Company will obtain benefits from (a) the use
of collateral which is security for the secured parties under the DIP Note Purchase Agreement, and
(b) the incurrence of debtor-in-possession financing obligations pursuant to the DIP Note Purchase
        Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 19 of 92




Agreement and other DIP Credit Documents or arising from each DIP Order, which are necessary
and convenient to the conduct, promotion and attainment of the business of such Company;

       BE IT FURTHER RESOLVED that the granting of security interests by each applicable
Company in all property now or hereafter owned by such Company as contemplated by the DIP
Note Purchase Agreement, the DIP Orders, the other DIP Credit Documents and any other
agreements, documents or filings that the DIP Notes Agent determines are necessary, appropriate
or desirable pursuant to the terms of the DIP Credit Documents be, and are, in all respects,
authorized and approved;

        BE IT FURTHER RESOLVED that each of the Authorized Persons of the Companies is
authorized and empowered in the name of, and on behalf of, the Companies to file or to authorize
the DIP Notes Agent to file any Uniform Commercial Code (the “UCC”) financing statements,
any other equivalent filings, any intellectual property filings and recordation and any necessary
assignments for security or other documents in the name of the Companies that the DIP Notes
Agent deems necessary or appropriate to perfect any lien or security interest granted under the DIP
Orders and the DIP Credit Documents, including any such UCC financing statement containing a
generic description of collateral, such as “all assets,” “all property now or hereafter acquired” and
other similar descriptions of like import, and to execute and deliver, and to record or authorize the
recording of, such mortgages and deeds of trust in respect of real property of the Companies and
such other filings in respect of intellectual and other property of the Companies, in each case as
the DIP Notes Agent may reasonably request to perfect the security interests of the DIP Notes
Agent under the DIP Orders;

        BE IT FURTHER RESOLVED that the Authorized Persons of each Company, acting
alone or with one or more other Authorized Persons, be, and each of them is, authorized, directed
and empowered in the name and on behalf of each applicable Company, as debtors and debtors in
possession, to guarantee the DIP Obligations under the DIP Note Purchase Agreement, the DIP
Orders and the other DIP Credit Documents on behalf of itself or on behalf of its subsidiaries, as
applicable, to assign, transfer, pledge and grant, or to continue to assign, transfer, pledge and grant,
to the DIP Notes Agent, for the ratable benefit of the respective or applicable secured parties, a
security interest in all or substantially all the assets of each Company, as collateral security for the
prompt and complete payment and performance when due of the DIP Obligations under the DIP
Note Purchase Agreement, the DIP Orders and the other DIP Credit Documents to which each
Company is a party and to take or cause to be taken any such actions as may be necessary,
appropriate or desirable to cause each such Company to create, perfect and maintain a security
interest in each of its respective property or assets constituting collateral as described or
contemplated in the DIP Credit Documents;

       BE IT FURTHER RESOLVED that each of the Authorized Persons be, and is, authorized
and empowered to take all such further actions including, without limitation, to pay all fees and
expenses in accordance with the terms of the DIP Credit Documents, to arrange for and enter into
supplemental agreements, instruments, certificates or documents relating to the transactions
contemplated by the DIP Note Purchase Agreement, the DIP Orders or any of the DIP Credit
Documents and to execute and deliver all such supplemental agreements, instruments, certificates
or documents in the name and on behalf of such Company under its corporate seal or otherwise,
which shall in their sole judgment be necessary, proper or advisable in order to perform such
        Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 20 of 92




Company’s DIP Obligations under or in connection with the DIP Note Purchase Agreement, the
DIP Orders or any of the DIP Credit Documents and the transactions contemplated by the DIP
Credit Documents, and to carry out fully the intent of the foregoing resolutions, in such form and
with such terms as shall be approved by the Authorized Person executing the same, with such
execution by said Authorized Person to constitute conclusive evidence of his or her approval of
the terms thereof;

         BE IT FURTHER RESOLVED that each of the Authorized Persons be, and is, authorized
and empowered to execute and deliver any amendments, amendment and restatements,
supplements, modifications, renewals, replacements, consolidations, substitutions and extensions
of the DIP Note Purchase Agreement, the DIP Orders or any of the DIP Credit Documents that
shall, in their sole judgment, be necessary, proper or advisable, in such form and with such terms
as shall be approved by the Authorized Person executing the same, with such execution by said
Authorized Person to constitute conclusive evidence of his or her approval of the terms thereof;

        BE IT FURTHER RESOLVED that for all transactions authorized above, the Authorized
Persons are authorized to open an account or accounts with such third parties as they deem
necessary or desirable for the purpose of engaging in such transactions, and the other party to such
transactions is authorized to act upon any verbal or written orders and instructions from the
Authorized Persons in connection with such accounts and transactions;

        BE IT FURTHER RESOLVED that each of the Authorized Persons of each Company
be, and is, authorized and empowered to take all actions or to not take any action in the name of
any Company with respect to the transactions contemplated by these resolutions as the sole
shareholder, partner, general partner, sole member, member, managing member, sole manager,
manager or director of each applicable subsidiary of any such Company, if any, whether existing
now or in the future, in each case, as such Authorized Person shall deem necessary or desirable,
including, without limitation, the authorization of resolutions and agreements necessary to
authorize the execution, delivery and performance pursuant to the DIP Credit Documents
(including, without limitation, certificates, affidavits, financing statements, notices, reaffirmations,
and amendments and restatements thereof or relating thereto) as may be necessary, appropriate or
convenient to effectuate the purposes of the transactions contemplated in this written consent. The
performance of any such further act or thing and the execution of any such document or instrument
by any of the Authorized Persons of such Company pursuant to these resolutions shall be
conclusive evidence that the same have been authorized and approved by such Company in every
respect;

        BE IT FURTHER RESOLVED that all acts and actions taken by the Authorized Persons
prior to the date of this written consent with respect to the transactions contemplated by the DIP
Note Purchase Agreement, the DIP Orders or any of the DIP Credit Documents be, and are, in all
respects confirmed, approved and ratified;

        BE IT FURTHER RESOLVED that the signature of any Authorized Person of such
Company shall be conclusive evidence of the authority of such Authorized Person to execute and
deliver the documents to which such Company is a party. The authority granted in this written
consent shall apply with equal force and effect to any successors-in-office of the Authorized
Persons identified in this written consent;
        Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 21 of 92




        BE IT FURTHER RESOLVED that all capitalized terms used in the resolutions under
this “Debtor-In-Possession Financing” section and not otherwise defined in this written consent
shall have the meanings given to such terms in the DIP Note Purchase Agreement, as applicable;

                            Approval of the Retention of Advisors

        BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered and directed to employ the law firm of Milbank
LLP as general bankruptcy counsel to represent and advise such Company in carrying out such
Company’s duties under the Bankruptcy Code, and to take any and all actions to advance its rights
and obligations, including filing any pleadings in connection with the Chapter 11 Case and with
any post-petition financing; and in connection therewith, such Authorized Persons are hereby
authorized, empowered and directed to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Chapter 11 Case, and cause to be executed
and filed an appropriate application with the bankruptcy court for authority to retain the services
of Milbank LLP;

         BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered and directed to employ on behalf of such Company
the firm of Haynes and Boone, LLP, as local bankruptcy counsel to represent and assist such
Company in carrying out such Company’s duties under the Bankruptcy Code, and to take any and
all actions to advance its rights and obligations in connection with the Chapter 11 Case and with
any post-petition financing; and in connection therewith, such Authorized Persons are hereby
authorized, empowered and directed to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Chapter 11 Case and cause to be executed
and filed an appropriate application with the bankruptcy court for authority to retain the services
of Haynes and Boone, LLP;

        BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered and directed to employ on behalf of such Company
the firm of PJT Partners, Inc., as investment banker and financial advisor to represent and assist
such Company in carrying out such Company’s duties under the Bankruptcy Code, and to take any
and all actions to advance its rights and obligations in connection with the Chapter 11 Case and
with any post-petition financing; and in connection therewith, such Authorized Persons are hereby
authorized, empowered and directed to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Chapter 11 Case and cause to be executed
and filed an appropriate application with the bankruptcy court for authority to retain the services
of PJT Partners, Inc.;

        BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered and directed to employ on behalf of such Company
the firm of Alvarez & Marsal North America, LLC, as financial advisor to represent and assist
such Company in carrying out such Company’s duties under the Bankruptcy Code, and to take any
and all actions to advance its rights and obligations in connection with the Chapter 11 Case and
with any post-petition financing; and in connection therewith, such Authorized Persons are hereby
authorized, empowered and directed to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Chapter 11 Case and cause to be executed
        Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 22 of 92




and filed an appropriate application with the bankruptcy court for authority to retain the services
of Alvarez & Marsal North America, LLC;

        BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered and directed to employ on behalf of such Company
the firm of Kurtzman Carson Consultants LLC, as notice and claims agent to represent and assist
such Company in carrying out such Company’s duties under the Bankruptcy Code, and to take any
and all actions to advance its rights and obligations in connection with the Chapter 11 Case and
with any post-petition financing; and in connection therewith, such Authorized Persons are hereby
authorized, empowered and directed to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Chapter 11 Case and cause to be executed
and filed an appropriate application with the bankruptcy court for authority to retain the services
of Kurtzman Carson Consultants LLC;

        BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered and directed to employ on behalf of such Company
the firm of Quinn Emanuel Urquhart & Sullivan, LLP, as special litigation counsel to represent
and assist such Company in carrying out such Company’s duties under the Bankruptcy Code, and
to take any and all actions to advance its rights and obligations in connection with the Chapter 11
Case and with any post-petition financing; and in connection therewith, such Authorized Persons
are hereby authorized, empowered and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Chapter 11 Case and cause to
be executed and filed an appropriate application with the bankruptcy court for authority to retain
the services of Quinn Emanuel Urquhart & Sullivan, LLP;

       BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered and directed to employ any other professionals,
including attorneys, accountants, tax advisors and notice and claims agents, necessary to assist
such Authorized Persons’ Company in carrying out such Company’s duties under the Bankruptcy
Code; and in connection therewith, such Authorized Persons are hereby authorized, empowered
and directed to execute appropriate retention agreements, pay appropriate retainers prior to or
immediately upon the filing of the Chapter 11 Case, and cause to be executed and filed appropriate
applications with the bankruptcy court for authority to retain the services of any other
professionals, as necessary;

                             Other Authorization and Ratification

       BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered and directed, in the name and on behalf of such
Company, to prosecute the Chapter 11 Case in a manner that in their business judgment is likely
to maximize the recovery for stakeholders in such Company and minimize the obligations incurred
by such Company;

       BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered and directed, in the name and on behalf of such
Company, to cause such Company to enter into, execute, deliver, certify, file and/or record and
perform such agreements, instruments, motions, affidavits, applications for approvals or ruling of
       Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 23 of 92




governmental or regulatory authorities, certificates or other documents, and to take such other
action, as in the judgment of such person shall be or become necessary, proper and desirable to
prosecute to a successful completion the Chapter 11 Case, including, but not limited to,
implementing the foregoing Resolutions and the transactions contemplated by these Resolutions;

       BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered and directed, in the name and on behalf of such
Company, to amend, supplement or otherwise modify from time to time the terms of any
documents, certificates, instruments, agreements or other writings referred to in the foregoing
Resolutions;

        BE IT FURTHER RESOLVED that all acts, actions and transactions relating to the
matters contemplated by the foregoing Resolutions done in the name and on behalf of each
Company, which acts would have been approved by the foregoing Resolutions except that such
acts were taken before these Resolutions were certified, are hereby in all respects approved and
ratified; and

        BE IT FURTHER RESOLVED that, to the extent each Company serves as the sole
member, managing member, general partner or other governing body (each a “Controlling
Company”) of any other company (each a “Controlled Company”), each Authorized Person of
such Controlling Company, any one of whom may act without the joinder of any other Authorized
Person of such Controlling Company, be, and each of them hereby is, severally authorized,
empowered and directed in the name and on behalf of such Controlling Company (acting for such
Controlled Company in the capacity set forth above, as applicable), to take all of the actions on
behalf of such Controlled Company that an Authorized Person of such Controlling Company is
herein authorized to take on behalf of such Controlling Company.
     Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 24 of 92




        IN WITNESS WHEREOF, each of the undersigned has executed this consent as of the
date first written above.

                                         Wesco Aircraft Holdings, Inc., a Delaware
                                         corporation




 [Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                 Managers and Members]
    Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 25 of 92

                                         Haas Chemical Management of Mexico,
                                         Inc., a Pennsylvania corporation

                                         Haas Corporation of Canada, a
                                         Pennsylvania corporation

                                         Haas Corporation of China, a Pennsylvania
                                         corporation

                                         Haas International Corporation, a
                                         Pennsylvania corporation

                                         Haas TCM      of Israel Inc.,   a Delaware
                                         corporation

                                         Interfast USA Holdings Incorporated, a
                                         Delaware corporation

                                         Pattonair Holding, Inc., a Delaware
                                         corporation

                                         Pattonair USA, Inc., a Texas corporation


                                         Pioneer Finance Corporation, a Delaware
                                         corporation

                                         Pioneer Holding Corporation, a Delaware
                                         corporation

                                         UNISEAL, Inc., a California corporation

                                         Wolverine Intermediate Holdin
                                         Corporation, a Delawg




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
    Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 26 of 92




                                        Haas Group, LLC, a Delaware limited
                                        liability company

                                        Haas Holdings, LLC, a Delaware limited
                                        liability company

                                        Haas of Delaware LLC, a Delaware limited
                                        liability company

                                        Haas TCM     Industries LLC, a Delaware
                                        limited liability company

                                        NetMRO, LLC, a Florida limited liability
                                        company


                                        Wesco Aircraft Canada, LLC, a Delaware
                                        limited liability company

                                        Wesco Aircraft SF, LLC, a Delaware limited
                                         liability company

                                        Wesco LLC 1, a Delaware limited liability
                                        company

                                        Wesco LLC 2, a Delaware limifed   liability


                                        By:
                                   wt         Name: M        nn Sigler
                                              Title: Manage’




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 27 of 92




                                        Wolverine Intermediate Holding Corporation, a
                                        Delaware corporation



                                        By:     _______________________________
                                                Name: Patrick J. Bartels, Jr.
                                                Title: Director


                                        By:    _______________________________
                                               Name: Michael Fabiano
                                               Title: Director



                                        By:     _______________________________
                                                Name: John Gerald Holland
                                                Title: Director



                                        By:     _______________________________
                                                Name: Louis Samson
                                                Title: Director



                                        By:     _______________________________
                                                Name: Mary Ann Sigler
                                                Title: Director


                                        By:     _______________________________
                                                _______________________________
                                                Name: Malik Vorderwuelbecke
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
    Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 28 of 92




                                         Wolverine Intermediate Holding Corporation, a
                                         Delaware corporation



                                         By:
                                                Name: Patrick J. Bartels, Jr.
                                                Title: Director


                                         By:     City             Ll-—-<$_—_
                                               Nanfe: Michael Fabiano
                                                Title: Director




                                               Name: John Gerald Holland
                                               Title: Director




                                         By:
                                               Name: Louis Samson
                                                Title: Director




                                                Name: Mary Ann Sigler
                                                Title: Director



                                               Name:    Malik Vorderwuelbecke
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
    Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 29 of 92




                                         Wolverine Intermediate Holding Corporation, a
                                         Delaware corporation



                                         By:
                                                Name: Patrick J. Bartels, Jr.
                                                Title: Director




                                                Name: Michael Fabiano
                                                Title: Director




                                         7       Gale thdLench
                                                Name: John Gerald Holland
                                                Title: Director




                                         By:
                                                Name: Louis Samson
                                                Title: Director




                                         By:
                                                Name: Mary Ann Sigler
                                                Title: Director


                                         By:
                                                Name: Malik Vorderwuelbecke
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
     Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 30 of 92




                                          Wolverine Intermediate Holding Corporation, a
                                          Delaware corporation



                                          By:
                                                 Name: Patrick J. Bartels, Jr.
                                                 Title: Director



                                         By:
                                                Name: Michael Fabiano
                                                Title: Director




                                         By:
                                                Name: John Gerald Holland
                                                Title: Director




                                                Name: Louis Samson
                                                Title: Director




                                         By:
                                                Name: Mary Ann Sigler
                                                Title: Director




                                                Name: Malik Vorderwuelbecke
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
   Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 31 of 92




                                        Wolverine Intermediate Holding Corporation, a
                                        Delaware corporation



                                        By:
                                               Name: Patrick J. Bartels, Jr.
                                               Title: Director



                                        By:
                                               Name: Michael Fabiano
                                               Title: Director




                                        By:
                                               Name: John Gerald Holland
                                               Title: Director




                                        By:
                                               Name: Louis Samson
                                               Title: Director




                                   ott By:      Mudern                 “ie
                                               Name: Mary         Ann Sigler
                                               Title: Director



                                               Name: Malik Vorderwuelbecke
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
   Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 32 of 92




                                         Wolverine Intermediate Holding Corporation, a
                                         Delaware corporation



                                         By:
                                                Name: Patrick J. Bartels, Jr.
                                                Title: Director



                                         By:
                                                Name: Michael Fabiano
                                                Title: Director




                                         By:
                                                Name: John Gerald Holland
                                                Title: Director




                                         By:
                                                Name: Louis Samson
                                                Title: Director




                                         By:
                                                Name: Mary Ann Sigler
                                                Title: Director




                                                Nayhd. Malik
                                                        0       Vorderwuelbecke
                                                Title: Director




{Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members|
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 33 of 92




                                        Wolverine UK Holdco Limited, an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 34 of 92




                                        Wolverine UK Holdco Limited, an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 35 of 92




                                        Pattonair Holdings Limited, an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:    _______________________________
                                               _______________________________
                                               Name: Dawn Landry
                                               Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 36 of 92




                                        Pattonair Holdings Limited, an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:    _______________________________
                                               _______________________________
                                               Name: Dawn Landry
                                               Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 37 of 92




                                        Pattonair Holdings Limited, an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:    _______________________________
                                               _______________________________
                                               Name: Dawn Landry
                                               Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 38 of 92




                                        Quicksilver Midco Limited, an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 39 of 92




                                        Quicksilver Midco Limited, an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 40 of 92




                                        Quicksilver Midco Limited, an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 41 of 92




                                        Pattonair Group Limited, an England and Wales
                                        limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 42 of 92




                                        Pattonair Group Limited, an England and Wales
                                        limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 43 of 92




                                        Pattonair Group Limited, an England and Wales
                                        limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 44 of 92




                                        Pattonair Europe Limited, an England and Wales
                                        limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 45 of 92




                                        Pattonair Europe Limited, an England and Wales
                                        limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 46 of 92




                                        Pattonair Europe Limited, an England and Wales
                                        limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 47 of 92




                                        Adams Aviation Supply Company Limited, an
                                        England and Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 48 of 92




                                        Adams Aviation Supply Company Limited, an
                                        England and Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 49 of 92




                                        Adams Aviation Supply Company Limited, an
                                        England and Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 50 of 92




                                        Pattonair (Derby) Limited, an England and Wales
                                        limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 51 of 92




                                        Pattonair (Derby) Limited, an England and Wales
                                        limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 52 of 92




                                        Pattonair (Derby) Limited, an England and Wales
                                        limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 53 of 92




                                        Pattonair Limited, an England and Wales limited
                                        company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 54 of 92




                                        Pattonair Limited, an England and Wales limited
                                        company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 55 of 92




                                        Pattonair Limited, an England and Wales limited
                                        company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 56 of 92




                                         Wesco Aircraft Hardware Corp., a California
                                         corporation

                                                             Digitally signed by David
                                                             Coleal
                                                             Date: 2023.05.24 11:53:31
                                         By:                 -05'00'

                                                Name: David Coleal
                                                Title: Chairman of the Board


                                         By:
                                                Name: Mary Ann Sigler
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
    Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 57 of 92




                                        Wesco Aircraft Hardware Corp., a California
                                        corporation



                                        By:
                                               Name: David Coleal
                                               Title: Chairman of the Board




                                  uit          Name: Mary A\nn Sigler!          °
                                               Title: Diregtor




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 58 of 92




                                         Wesco 1 LLP, an England and Wales limited
                                         liability partnership



                                         By: Wesco Aircraft Hardware Corp., as Member
                                                                  Digitally signed by David Coleal

                                                By: ___________   Date: 2023.05.24 11:53:57 -05'00'



                                                    Name: David Coleal
                                                    Title: Chairman of the Board


                                                By:
                                                      Name: Mary Ann Sigler
                                                      Title: Director



                                         By: Wesco LLC 1, as Member

                                                By:
                                                      Name: Mary Ann Sigler
                                                      Title: Manager




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
   Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 59 of 92




                                        Wesco 1 LLP, an England and Wales limited
                                        liability partnership



                                        By: Wesco Aircraft Hardware Corp., as Member

                                               By:
                                                     Name: David Coleal
                                                     Title: Chairman of the Board


                                               By:
                                                     Name: Mary Ann Sigler
                                                     Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 60 of 92




                                         Wesco 2 LLP, an England and Wales limited
                                         liability partnership



                                         By: Wesco 1 LLP, as Member

                                                By: Wesco Aircraft Hardware Corp., as
                                                Member
                                                                   Digitally signed by David Coleal
                                                                   Date: 2023.05.24 11:54:23 -05'00'
                                                By: _______________________
                                                      Name: David Coleal
                                                      Title: Chairman of the Board

                                                By:
                                                      Name: Mary Ann Sigler
                                                      Title: Director



                                                By: Wesco LLC 1, as Member

                                                By:
                                                      Name: Mary Ann Sigler
                                                      Title: Manager



                                         By: Wesco LLC 2, as Member

                                                By:
                                                      Name: Mary Ann Sigler
                                                      Title: Manager




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
    Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 61 of 92




                                        Wesco 2 LLP, an England and Wales limited
                                         liability partnership



                                        By: Wesco | LLP, as Member

                                                 By: Wesco Aircraft Hardware Corp., as
                                                 Member

                                                 By:
                                                       Name: David Coleal
                                                       Title: Chairman of the Board

                                                 By:
                                                       Name: Mary Ann Sigler
                                                       Title: Director



                                                 By: Wesco LLC 1, as Member

                                                 By:
                                                       Name: Mary Ann Sigler
                                                       Title: Manager




                                                 By:
                                         vit           Name: Mafy     Xnn Sigler
                                                       Title: Manager




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members|
    Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 62 of 92




                                        Wesco Aircraft Canada Inc., a Canada
                                        corporation



                                        By:     Ile~ 1&,K1?«Q/
                                               Name: Pascale Bouchard
                                               Title: Director


                                        By:
                                               Name: Mary Ann Sigler
                                               Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
    Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 63 of 92




                                        Wesco Aircraft Canada Inc., a Canada
                                        corporation



                                        By:
                                               Name: Pascale Bouchard
                                               Title: Director



                                                                           o 2

                                  Mi           Name:      MaryAnn Sigl r
                                               Title: Directo




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 64 of 92




                                         Haas Group International, LLC, a Pennsylvania
                                         limited liability company

                                                             Digitally signed by David
                                                             Coleal
                                                             Date: 2023.05.24 11:53:04
                                         By:    ___________  -05'00'

                                                Name: David Coleal
                                                Title: Chairman of the Board


                                         By:
                                                Name: Mary Ann Sigler
                                                Title: Manager




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
    Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 65 of 92




                                         Haas Group International, LLC, a Pennsylvania
                                         limited liability company



                                         By:
                                                Name: David Coleal
                                                Title: Chairman of the Board




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
   Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 66 of 92




                                        Haas Group Canada Inc., a Canada corporation



                                        By:      faoui /2:vc Ira, t.l
                                               Name: Pascale Bouchard
                                               Title: Director


                                        By:
                                               Name: Mary Ann Sigler
                                               Title: Director




(Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
    Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 67 of 92




                                         Haas Group Canada Inc., a Canada corporation



                                         By:
                                               Name: Pascale Bouchard
                                               Title: Director



                                    vit By:    Name: M, ry Ann Sigler
                                               Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 68 of 92




                                        Haas TCM de Mexico, S. de R.L. de C.V., a
                                        Mexico limited liability company



                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Manager




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 69 of 92




                                        Haas TCM Group of the UK Limited, an England
                                        and Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 70 of 92




                                        Haas TCM Group of the UK Limited, an England
                                        and Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 71 of 92




                                        Haas TCM Group of the UK Limited, an England
                                        and Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 72 of 92




                                        Wesco Aircraft International Holdings Limited,
                                        an England and Wales limited company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 73 of 92




                                        Wesco Aircraft International Holdings Limited,
                                        an England and Wales limited company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 74 of 92




                                        Wesco Aircraft International Holdings Limited,
                                        an England and Wales limited company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 75 of 92




                                        Wesco Aircraft International Holdings Limited,
                                        an England and Wales limited company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 76 of 92




                                        Wesco Aircraft EMEA, Ltd., an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 77 of 92




                                        Wesco Aircraft EMEA, Ltd., an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 78 of 92




                                        Wesco Aircraft EMEA, Ltd., an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 79 of 92




                                        Wesco Aircraft EMEA, Ltd., an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 80 of 92




                                        Haas Group International SCM Limited, an
                                        England and Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 81 of 92




                                        Haas Group International SCM Limited, an
                                        England and Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 82 of 92




                                        Haas Group International SCM Limited, an
                                        England and Wales limited company



                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 83 of 92




                                        Flintbrook Limited, an England and Wales limited
                                        company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 84 of 92




                                        Flintbrook Limited, an England and Wales limited
                                        company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 85 of 92




                                        Flintbrook Limited, an England and Wales limited
                                        company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 86 of 92




                                        Flintbrook Limited, an England and Wales limited
                                        company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 87 of 92




                                        Wesco Aircraft Europe, Ltd, an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 88 of 92




                                        Wesco Aircraft Europe, Ltd, an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 89 of 92




                                        Wesco Aircraft Europe, Ltd, an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
      Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 90 of 92




                                        Wesco Aircraft Europe, Ltd, an England and
                                        Wales limited company



                                        By:     _______________________________
                                                Name: Neal Austerberry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Wayne Richard Hollinshead
                                                Title: Director


                                        By:     _______________________________
                                                Name: Dawn Landry
                                                Title: Director


                                        By:     _______________________________
                                                Name: Mark Whatling
                                                Title: Director




[Signature Page to Omnibus Unanimous Written Consent of the Board of Directors, Boards of
                                Managers and Members]
        Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 91 of 92




                                          ANNEX A

        1. Wesco Aircraft Holdings, Inc., a Delaware corporation

        2. Wolverine Intermediate Holding II Corporation, a Delaware corporation

        3. Wolverine Intermediate Holding Corporation, a Delaware corporation

        4. Haas Group, LLC, a Delaware limited liability company

        5. Haas Holdings, LLC, a Delaware limited liability company

        6. Interfast USA Holdings Incorporated, a Delaware corporation

        7. Pioneer Holding Corporation, a Delaware corporation

        8. Pattonair Holding, Inc., a Delaware corporation

        9. Pattonair USA, Inc., a Texas corporation

        10. UNISEAL, Inc., a California corporation

        11. Pioneer Finance Corporation, a Delaware corporation

        12. Wolverine UK Holdco Limited, an England and Wales limited company

        13. Pattonair Holdings Limited, an England and Wales limited company

        14. Quicksilver Midco Limited, an England and Wales limited company

        15. Pattonair Group Limited, an England and Wales limited company

        16. Pattonair Europe Limited, an England and Wales limited company

        17. Adams Aviation Supply Company Limited, an England and Wales limited company

        18. Pattonair (Derby) Limited, an England and Wales limited company

        19. Pattonair Limited, an England and Wales limited company

        20. Wesco Aircraft Hardware Corp., a California corporation

        21. Wesco LLC 1, a Delaware limited liability company

        22. Wesco LLC 2, a Delaware limited liability company

        23. Wesco 1 LLP, an England and Wales limited liability partnership




#4887-2306-1340
Case 23-90683 Document 1 Filed in TXSB on 06/01/23 Page 92 of 92




24. Wesco 2 LLP, an England and Wales limited liability partnership

25. Wesco Aircraft SF, LLC, a Delaware limited liability company

26. Wesco Aircraft Canada, LLC, a Delaware limited liability company

27. Wesco Aircraft Canada Inc., a Canada corporation

28. Haas Group International, LLC, a Pennsylvania limited liability company

29. Haas of Delaware LLC, a Delaware limited liability company

30. Haas TCM Industries LLC, a Delaware limited liability company

31. NetMRO, LLC, a Florida limited liability company

32. Haas Corporation of Canada, a Pennsylvania corporation

33. Haas Group Canada Inc., a Canada corporation

34. Haas Chemical Management of Mexico, Inc., a Pennsylvania corporation

35. Haas TCM de Mexico, S. de R.L. de C.V., a Mexico limited liability company

36. Haas Corporation of China, a Pennsylvania corporation

37. Haas TCM of Israel Inc., a Delaware corporation

38. Haas International Corporation, a Pennsylvania corporation

39. Haas TCM Group of the UK Limited, an England and Wales limited company

40. Wesco Aircraft International Holdings Limited, an England and Wales limited
    company

41. Wesco Aircraft EMEA, Ltd., an England and Wales limited company

42. Haas Group International SCM Limited, an England and Wales limited company

43. Flintbrook Limited, an England and Wales limited company

44. Wesco Aircraft Europe, Ltd, an England and Wales limited company
